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UNITED STATES DISTRICT COURT
                                                                                             10/14/20
SOUTHERN DISTRICT OF NEW YORK


  United States of America,

                 –v–
                                                                     15-cr-95 (AJN)
  Dante Stephens,
                                                                        ORDER
                        Defendant.


ALISON J. NATHAN, District Judge:
       The sentencing in this matter currently scheduled for October 20, 2020 at 1 p.m. is hereby

re-scheduled to October 20, 2020 at 3 p.m. In light of the Defendant’s preference, Dkt. No. 3043,

the sentencing will be conducted by videoconference using the Skype for Business platform. To
that end, defense counsel should confer with the Defendant regarding waiving his physical

presence and provide the attached waiver form to him. If Mr. Stephens, after reviewing the form

and being advised of its contents, wishes to waive his right to be physically present, he and his
counsel should return the signed waiver form no later than October 19, 2020.

       The Court will provide the parties and members of the public with instructions for
accessing this platform at a later date. The Court reminds the parties of Rule 8.A of this Court’s

Individual Rules of Criminal Practices. Defendant’s sentencing submission shall be filed by no

later than October 15, 2020. The Government’s sentencing submission shall be filed by no later
than 12 p.m. on October 19, 2020.

       SO ORDERED.

 Dated: October 14, 2020
        New York, New York                        ____________________________________
                                                           ALISON J. NATHAN
                                                         United States District Judge
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X
UNITED STATES OF AMERICA
                                                                              WAIVER OF RIGHT TO BE
                             -v-                                              PRESENT AT CRIMINAL
                                                                              PROCEEDING
                    DANTE STEPHENS,
                                       Defendant.                               15-CR-95-51 (AJN)
-----------------------------------------------------------------X

Check Proceedings that Apply

____     Sentencing

         I understand that I have a right to appear before a judge in a courtroom in the Southern
         District of New York at the time of my sentence and to speak directly in that courtroom to the
         judge who will sentence me. I am also aware that the public health emergency created by
         the COVID-19 pandemic has interfered with travel and restricted access to the federal
         courthouse. I do not wish to wait until the end of this emergency to be sentenced. I have
         discussed these issues with my attorney and willingly give up my right to be present, at the
         time my sentence is imposed, in the courtroom with my attorney and the judge who will
         impose that sentence. By signing this document, I wish to advise the court that I willingly give
         up my right to appear in a courtroom in the Southern District of New York for my sentencing
         proceeding as well as my right to have my attorney next to me at the time of sentencing on
         the following conditions. I want my attorney to be able to participate in the proceeding and
         to be able to speak on my behalf at the proceeding. I also want the ability to speak privately
         with my attorney at any time during the proceeding if I wish to do so.


Date:              _________________________                         ____________________________
                   Print Name                                              Signature of Defendant


         I hereby affirm that I am aware of my obligation to discuss with my client the specifications
         of violation of supervised release, my client’s rights to attend and participate in the criminal
         proceedings encompassed by this waiver, and this waiver form. I affirm that my client
         knowingly and voluntarily consents to the proceedings being held with my client and me both
         participating remotely.


Date:              __________________________                              _____________________________
                   Print Name                                              Signature of Defense Counsel
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Accepted:   ________________________
            Signature of Judge
            Date:




                                       2
